      Case 5:22-cv-04486-BLF Document 352 Filed 03/27/23 Page 1 of 3



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13
                                   UNITED STATES DISTRICT COURT
14
                                  NORTHERN DISTRICT OF CALIFORNIA
15
                                         SAN JOSE DIVISION
16
     MATT JONES; BRYSON DECHAMBEAU;                   Case No. 5:22-cv-04486-BLF (SVK)
17   PETER UIHLEIN; and LIV GOLF, INC.,
                                                      ADMINISTRATIVE MOTION TO
18                  Plaintiffs,                       CONSIDER WHETHER ANOTHER
                                                      PARTY’S MATERIAL SHOULD BE
19             v.                                     SEALED

20   PGA TOUR, INC.,                                  Judge:        Hon. Beth Labson Freeman

21                  Defendant.

22                                                    Date Filed:   August 3, 2022
     PGA TOUR, INC.,
23              Counter-claimant,                     Trial Date:   January 8, 2024

24             v.

25   LIV GOLF, INC., THE PUBLIC
     INVESTMENT FUND OF THE KINGDOM
26   OF SAUDI ARABIA, AND YASIR
     OTHMAN AL-RUMAYYAN,
27               Counter-defendants.
28


       ADMIN. MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE SEALED
                                 Case No. 5:22-cv-04486-BLF (SVK)
     2114439
          Case 5:22-cv-04486-BLF Document 352 Filed 03/27/23 Page 2 of 3



 1             Pursuant to Civil Local Rule 79-5(f) and the Protective Order entered by this Court, Dkt.

 2   111, Defendant and Counter-Claimant PGA Tour, Inc. (“the TOUR”) respectfully submits this

 3   Administrative Motion to Consider Whether Another Party’s Material Should Be Sealed,

 4   regarding the TOUR’s Motion for Alternative Service under Federal Rule of Civil Procedure 4.

 5             Specifically, the document subject to this Administrative Motion is:

 6                                           Portions of Document                Party Claiming
                  Document
 7                                                to Be Sealed                   Confidentiality

 8        The TOUR’s Notice of              Highlighted portions at:         LIV Golf, Inc.
          Motion and Motion for
                                                •   Page 5:4
 9        Alternative Service under
          Federal Rule of Civil
10        Procedure 4                           •   Page 8:22-23

11

12
               The TOUR’s Notice of Motion and Motion for Alternative Service under Federal Rule of
13
     Civil Procedure contains information previously designated as “CONFIDENTIAL –
14
     ATTORNEYS’ EYES ONLY” by LIV Golf, Inc. pursuant to the applicable Protective Order in
15
     this action.
16
               The TOUR does not have an interest in confidential treatment of the foregoing
17
     information. The TOUR makes this request solely because LIV has designated this information as
18
     confidential under the applicable Protective Order. Nevertheless, in compliance with its
19
     Protective Order obligations and the Civil Local Rules of this District, the TOUR is submitting
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     under seal, along with this Administrative Motion, an unredacted copy of the document
21
     referenced above pursuant to Civil Local Rules 79-5(d) and 79-5(e).
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          ADMIN. MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE SEALED
                                    Case No. 5:22-cv-04486-BLF (SVK)
     2114439
      Case 5:22-cv-04486-BLF Document 352 Filed 03/27/23 Page 3 of 3



 1   Dated: March 27, 2023                       KEKER, VAN NEST & PETERS LLP

 2
                                           By:   /s/ Elliot R. Peters
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       ADMIN. MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE SEALED
                                 Case No. 5:22-cv-04486-BLF (SVK)
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